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                                   STATEMENT OF FACTS

        Your affiant, Charles E. Gravis, is a Special Agent (“SA”) with the Federal Bureau of
Investigation (“FBI”) and has been since 2002. I am currently assigned to the Portland Division,
Salem Resident Agency. My previous assignment was with the Los Angeles FBI, where I
personally investigated, assisted investigators, and supervised investigations of numerous federal
crimes to specifically include narcotics and gang related offenses, violent crimes, and child
pornography. I received formal training at the Albuquerque Police Department and FBI
Academies, which included investigations, evidence collection, and interviewing. In addition, I
have received over 300 additional hours of specialized training in narcotics, financial, gangs,
sexual assaults, and violent crimes investigations. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As an FBI SA, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m. EST, individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

      Shortly thereafter, at approximately 2:20 p.m. EST members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

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of the United States Congress was effectively suspended until shortly after 8:00 p.m EST. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On or about January 8, 2021, an anonymous tipster (“T-1”) provided the FBI with a video,
with the watermark “Jayden X” in the bottom right-hand corner of the video (hereinafter, the
“JaydenX Video”). The JaydenX Video depicts individuals storming the U.S. Capitol on January
6, 2021. The FBI was able to obtain several screenshots of individual rioters’ faces from the
JaydenX Video, including the following screenshot of an individual believed to be Jeffrey William
Hubbard (“HUBBARD”).




                                              Figure 1
        Your affiant has reviewed open source and surveillance footage depicting the individual
believed to be HUBBARD inside the U.S. Capitol building on January 6, 2021. In the
aforementioned JaydenX Video, HUBBARD can be seen toward the back of a crowd of rioters
gathered in the Statuary Hall connector—the hallway connecting Statuary Hall to the House of
Representatives chamber (“House chamber”). A line of uniformed and plain clothes law
enforcement officers can be seen blocking the rioters from entering the hallways surrounding the
House chamber. HUBBARD has a distinct bald head, is clean shaven, and is wearing a black
jacket. At approximately 30:30 in the video, HUBBARD can be seen gradually moving toward
the front of the crowd. HUBBARD appears to be chanting with the crowd, “Stop the Steal” and
“We Want Trump.” Beginning at the 32:48 mark, HUBBARD can be seen standing directly
behind a white-haired female who appears to be engaging with the uniformed officers blocking




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the rioters’ path. A screenshot from the 34:32 mark of the JaydenX Video is provided below. See
Figure 2. 1




                                             Figure 2


        HUBBARD is again seen in the JaydenX Video at the 37:33 mark. At this point in the
video, the rioters have broken through the police line and are chanting “Stop the Steal” as they try
to force their way through what appears to be the back entrance of the House chamber, which is
being guarded by law enforcement officers. HUBBARD’s distinctive bald head can be seen
intermittently until the 38:28 mark, when his full face comes into the camera’s view again. At this
time, members of the crowd can be heard suggesting that the rioters use a helmet or Kevlar to
break open the House chamber door. A screenshot of HUBBARD’s face from the 38:28 mark is
provided below. See Figure 3.




       1
         Your affiant has drawn a red circle around the individual believed to be HUBBARD in
Figure 2 and in all other figures contained in this Statement of Facts.

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                                          Figure 3


       Finally, HUBBARD can be seen and heard at the 42:33 mark of the JaydenX Video,
chanting the words "Break it Down" with the crowd. Below is a screenshot of the 42:35 mark of
the Jayden X Video with HUBBARD, circled in red, in the foreground of the screenshot. See
Figure 4.




                                          Figure 4




                                             4
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       USCP Surveillance Footage Confirms HUBBARD’s Presence Inside the U.S. Capitol

        Your affiant has also reviewed USCP surveillance footage, which further confirms
HUBBARD’s presence inside the U.S. Capitol building on January 6, 2021. HUBBARD is first
seen at approximately 2:22 p.m. EST climbing through a broken window located next to the Senate
Wing door on the northwest side of the Capitol. See Figures 5-7, below.




                                         Figure 5




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                                             Figure 6




                                             Figure 7

       HUBBARD, circled in red by your affiant, can be identified by his mid-length black jacket,
which contains a small white stripe on the upper right arm, as indicated by the red arrow in Figure
7, above.

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        When HUBBARD first enters the broken window next to the Senate Wing door, he is
wearing a dark-colored hat with a fur trim. See Figures 6 and 7, above. It appears that HUBBARD
later removed his hat, since he does not appear to be wearing a hat throughout the remainder of
the USCP surveillance footage discussed herein.

       HUBBARD is next seen at approximately 2:26 p.m. EST walking through the Rotunda.
See Figure 8. HUBBARD, who can be identified by his mid-length black coat and bald head,
appears to be taking pictures with a cellular phone inside the Rotunda.




                                             Figure 8


       At approximately 2:31 p.m. EST, HUBBARD can be seen standing toward the front of a
crowd of rioters inside the Statuary Hall connector. See Figure 9. The surveillance footage of
HUBBARD inside the Statuary Hall connector (Figure 9) is consistent with the JaydenX Video
footage (Figure 2) showing rioters in the Statuary Hall connector attempting to push past the police
barricade.




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                                            Figure 9
        At approximately 2:45 p.m. EST, HUBBARD can be seen in one of the hallways
surrounding the House chamber. See Figure 10, below. HUBBARD, circled in red by your affiant,
can be identified by his mid-length black coat with a white patch on the side, and his bald head.




                                           Figure 10
       At approximately 2:59 p.m. EST, HUBBARD is seen re-entering the Rotunda. See Figure
11.




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                                         Figure 11


        Over the course of the video, HUBBARD moves through the crowd toward a group of
uniformed law enforcement officers, who can be seen in the upper right quadrant of Figure 11,
above. The law enforcement officers appear to be engaged with and/or blocking the forward
advancement of rioters. See Figure 12 (HUBBARD indicated with a red circle and red arrow in
the center of the Rotunda).




                                         Figure 12
        HUBBARD eventually advances toward the front of the crowd of rioters. Shortly
thereafter, a physical struggle ensues between some rioters and the uniformed law enforcement

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officers. At one point during this altercation, HUBBARD can be seen pouring what appears to be
water over his eyes. See Figure 13 (HUBBARD indicated with a red circle and red arrow, toward
the front of the line of rioters engaging with uniformed law enforcement officers inside the
Rotunda).




                                          Figure 13


        Finally, USCP surveillance footage shows HUBBARD moving towards the East Rotunda
Door at approximately 3:15 p.m. EST. At approximately 3:16 p.m. EST, HUBBARD appears to
exit the U.S. Capitol. See Figure 14.




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                                          Figure 14
                                 Identification of HUBBARD

        In May 2021, your affiant spoke to Lincoln City Police Department Detective James Burke
regarding HUBBARD. Detective Burke advised your affiant that he had a separate, unrelated
investigation involving HUBBARD. The following is information that Detective Burke related to
your affiant over the course of several conversations in May 2021:

          •   Detective Burke has confirmed with HUBBARD that HUBBARD currently resides
              in Lincoln City, Oregon, and that HUBBARD has a mobile phone number ending
              in -2560.

          •   On or about January 7, 2021, Detective Burke attempted to make contact with
              HUBBARD at his residence in Lincoln City, Oregon. During the attempted
              contact, an elderly female answered the door and identified herself as HUBBARD’s
              mother. The elderly woman who identified herself as HUBBARD’s mother
              informed Detective Burke that HUBBARD was at the Trump Rally in Washington
              D.C. at the time of Detective Burke’s visit. 2


2
 On November 30, 2021, your affiant performed a public database check for HUBBARD’s
known address. The public database check listed HUBBARD and a 74 year-old female, J.L., as
being associated with the address. An Oregon Department of Motor Vehicles (“DMV”) records
check for J.L. showed that she listed HUBBARD’s known address as her address. A public
database check for J.L. showed that J.L. previously used the last name “Hubbard.” On
November 30, 2021, your affiant provided Detective Burke with the current Oregon DMV
photograph of J.L. Detective Burke identified the woman pictured in the DMV photograph as
being the elderly female who identified herself as HUBBARD’s mother when Detective Burke
visited HUBBARD’s residence on January 7, 2021.
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           •   On June 1, 2021, Detective Burke conducted an in-person interview with
               HUBBARD. During this interview, Detective Burke informed HUBBARD that he
               had previously attempted to contact HUBBARD in January 2021, but that
               HUBBARD was not home at the time. Detective Burke further informed
               HUBBARD that during this attempted contact, HUBBARD’s mother had told
               Detective Burke that HUBBARD was at the Trump Rally in Washington. D.C.
               According to Detective Burke, HUBBARD nodded affirmatively when Detective
               Burke informed HUBBARD about HUBBARD’s mother’s statement.

       Public records indicate that the phone number ending in -2560 has been associated with
HUBBARD since 2013. Public records also indicate that HUBBARD used to reside in Michigan,
but now likely resides in Lincoln City, Oregon.

       Lawfully obtained records from AT&T indicate that since May 31, 2017, HUBBARD has
been the subscriber and financially liable party for the phone number ending in -2560.

        According to records obtained through a search warrant which was served on AT&T, on
January 6, 2021, in and around the time of the incident, the cellphone associated with the phone
number ending in -2560 was identified as having utilized a cell site consistent with providing
service to a geographic area that includes the interior of the United States Capitol building. In
addition, lawfully obtained records from AT&T indicate that since May 31, 2017, HUBBARD has
been the subscriber for the phone number ending in -2560.

        AT&T records indicate that on January 1, 2021, the phone number ending in -2560 used a
cell tower located in Lincoln City, Oregon. Over the course of the next five days, the phone
number ending in -2560 pinged off cellular towers in an easterly direction across the United States.
Specifically, on January 5, 2021, there were approximately 32 cellular tower hits in the Flint,
Michigan area. Additionally, between 12:00 a.m. on January 6, 2021 and 7:59 a.m. on January 7,
2021, there were approximately 199 hits off cellular towers in the Washington, D.C. area. In
particular, on January 6, 2021, between 1:03pm and 4:33 p.m. EST, the phone number ending in -
2560 hit approximately 45 times off a cellular tower whose range of coverage includes the U.S.
Capitol. On January 7, 2021, the phone number ending in -2560 hit off cellular towers in the Flint,
Michigan area approximately 40 times.

        On July 22, 2021 and August 3, 2021, your affiant met with Detective Burke. During these
meetings, your affiant showed Detective Burke the JaydenX Video, as well as the USCP
surveillance footage described above. Detective Burke, who has interviewed HUBBARD in
person, positively identified HUBBARD as the individual (whom your affiant has since circled in
red) in Figures 1-4 and 8-10, above.

        Finally, your affiant has compared the photograph in Figure 1 to HUBBARD’s Department
of Motor Vehicles photographs from Oregon and Michigan, and believes them to depict the same
person.




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        Based on the foregoing, your affiant submits that there is probable cause to believe that
HUBBARD violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that HUBBARD violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly: (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Charles E. Gravis
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 6th day of December 2021.
                                                                             2021.12.06
                                                                             14:29:02 -05'00'
                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE




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